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                Supreme Court of the United States
                       Office of the Clerk
                   Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                   June 12, 2023


  Clerk
  United States Court of Appeals for the Sixth Circuit
  540 Potter Stewart U.S. Courthouse
  100 East Fifth Street
                                                                       FILED
                                                                  Jun 13, 2023
  Cincinnati, OH 45202-3988
                                                              DEBORAH S. HUNT, Clerk

        Re: Tre Hargett, Tennessee Secretary of State, et al.
            v. Tennessee State Conference of the NAACP, et al.
            No. 22-773
            (Your No. 21-6024)


  Dear Clerk:

        The Court today entered the following order in the above-entitled case:

        The petition for a writ of certiorari is denied.



                                          Sincerely,




                                          Scott S. Harris, Clerk




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